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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA




CHERYL SAGATAW, DEANTHONY
BARNES, ROBERTA STRONG,
TRAVIS NELOMS, ALVIN
BUTCHER, ADRIAN TIGER,
CHANCE ASKENETTE, DEVEN                                  Civil Action
CASTON, LOLA HEGSTROM, and
RONDEL APPLEBEE, on behalf of                     0:24-cv-00001-ECT/TNL
themselves and a class of
similarly-situated individuals,

                                                    MOTION TO
                          Plaintiffs,            AMEND OPERATIVE
                                                    COMPLAINT
         vs.                                   AND TO ADD PLAINTIFFS


MAYOR JACOB FREY, in his
individual and official capacity,


                          Defendant.




NOW COME Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, and Travis

Neloms, Plaintiffs; and Alvin Butcher, Adrian Tiger, Chance Askenette, Deven

Caston, Lola Hegstrom, and RonDel Applebee, prospective Plaintiffs; by and

through the undersigned attorney, and respectfully move this Court for leave to file



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a Second Amended Complaint in this proceeding pursuant to Federal Rule of Civil

Procedure 15(a)(2).

      In accordance with Rule 15.1(b), attached hereto as Exhibit A is a copy of

the proposed amended pleading, and as Exhibit B a redline version of the same

showing how the proposed amended pleading differs from the operative pleading,

ECF No. 30. These Exhibits are identical to those filed on September 15, 2024

(ECF No. 81, Exh. A and Exh. B).



                                            Signed,

Date: September 24, 2024                          ____________________
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